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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                      Case No. 12-cr-52-PB

Edward Keating, et al.



                               O R D E R


     The defendant has moved to continue the August 21, 2012

trial in the above case, citing the need for additional time to

engage in plea negotiations or prepare for trial.           The

government and co-defendant, Ian Fitzmorris, do not object to a

continuance of the trial date.

     Accordingly, for the above reason and in order to allow the

parties additional time to properly prepare for trial, the court

will continue the trial from August 21, 2012 to October 2, 2012.

In agreeing to continue the trial, the court finds pursuant to

18 U.S.C.A. ' 3161(h)(7)(A) that for the above-stated reasons,

the ends of justice served in granting a continuance outweigh

the best interests of the public and the defendants in a speedy

trial.
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      The August 1, 2012 final pretrial conference is continued

to September 25, 2012 at 3:15 p.m.          No further continances.

      SO ORDERED.

                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

July 24, 2012

cc:   David Bownes, Esq.
      Jonathan Saxe, Esq.
      Debra Walsh, AUSA
      United States Marshal
      United States Probation




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